
The Court.
Petitioner was adjudged guilty of contempt in disobeying and violating the injunction of the court made pendente lite in the action of divorce, entitled George E. White v. Frankie White.
The injunction restrained petitioner from alienating his separate property. The only jurisdictional question involved turns upon the power of the court to issue such *283an injunction in a divorce proceeding pending the litigation. We entertain no doubt that in a proper case, and upon a proper showing, this may be done. (High on Injunctions, secs. 1393-95; Bishop on Marriage and Divorce, secs. 1106,1107, and notes where cases are collated.) Whether or not the injunction in this case was warranted by the circumstances, or was an abuse of the discretion of the trial judge, is a question which cannot be considered in this proceeding. The restraining order being within the jurisdiction of the court to make, it follows that the prisoner must be remanded.
Writ discharged and prisoner remanded.
